                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: In Re: Oral Phenylephrine Marketing and Sales Practices
                                                               _____Litigation           Docket No.: 24-3296 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: David M. Zionts

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Appearance for: Defendant/Appellee The Procter & Gamble Co.
                                              (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                       )
                                              (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                      )
                                                         (name/firm)

G Additional counsel (co-counsel with: Andrew Soukup / Covington & Burling LLP
✔                                                                                                                   )
                                                         (name/firm)

G Amicus (in support of:                                                                                            )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on 2020-04-23                                                                                        OR

G I applied for admission on                                                                                        .


Signature of Counsel: /s/ David M. Zionts

Type or Print Name: David M. Zionts
